People v Gutierrez (2014 NY Slip Op 06872)
People v Gutierrez
2014 NY Slip Op 06872
Decided on October 9, 2014
Appellate Division, First Department
Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.
This opinion is uncorrected and subject to revision before publication in the Official Reports.
Decided on October 9, 2014Tom, J.P., Friedman, Feinman, Gische, Kapnick, JJ.


13139 5298/11

[*1] The People of the State of New York, Respondent, —
vDamaryliz Gutierrez, Defendant-Appellant.
Steven Banks, The Legal Aid Society, New York (Adrienne M. Gantt of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Yuval Simchi-Levi of counsel), for respondent.
An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Thomas Farber, J.), rendered on or about May 1, 2012,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
ENTERED: OCTOBER 9, 2014
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.






